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3
     Attorneys for Defendant
4    RAYMOND SU
5
6
                                  UNITED STATES DISTRICT COURT
7
                                 EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                    ) Case No. 2:18-cr-149 JAM
                                                  )
10                        Plaintiff,              ) WAIVER OF PERSONAL APPEARANCE;
                                                  ) ORDER
11         v.                                     )
                                                  )
12   RAYMOND SU,                                  )
                                                  )
13                        Defendant.              )
                                                  )
14
           Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant,
15
     RAYMOND SU, hereby waives the right to be present in person in open court upon the
16
     hearing of any motion or other proceeding in this case, including, but not limited to, when the
17
     case is set for trial, when a continuance is ordered, and when any other action is taken by the
18
     court before or after trial, specifically, appearances for any hearing regarding modification of
19
     conditions of supervised release, except upon arraignment, plea empanelment of jury and
20
     imposition of sentence.
21
           Defendant hereby requests the Court to proceed during every absence which the Court
22
     may permit to this waiver; agrees that defendant’s interests will be deemed represented at all
23
     times by the presence of the defendant’s attorney, the same as if the defendant were personally
24
     present; and further agrees to be present in court ready for trial any day and hour the Court
25
     may fix the defendant’s absence.
26
     ///
27
28                                                  -1-                      Waiver of Personal Appearance
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1           The defendant further acknowledges being informed of the rights under Title 18 U.S.C.

2    §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates

3    under that Act without the defendant’s personal presence.

4           The original signed copy of this waiver is being preserved by the attorney undersigned.
5
     Dated: July 16, 2019
6
7                                               /s/ RAYMOND SU
                                                RAYMOND SU
8                                               (Original signature retained by attorney)
9
            I agree and consent to my Client’s waiver of appearance.
10
     Dated: July 16, 2019
11                                              /s/ Linda Parisi
12                                              LINDA PARISI
                                                Attorney at Law
13                                              Attorney for Defendant
                                                RAYMOND SU
14
15          IT IS SO ORDERED.

16   Dated: July 16, 2019                        /s/ John A. Mendez____________

17                                              HON. JOHN A. MENDEZ
                                                United States District Court Judge
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                                                                           Waiver of Personal Appearance
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